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                          EXHIBIT D
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2025 FLORIDA LIMITED LIABILITY COMPANY REINSTATEMENT                  FILED
DOCUMENT# L06000060021                                             Feb 07, 2025
Entity Name: TELCOM VENTURES LLC                                Secretary of State
                                                                 2508131991CR
Current Principal Place of Business:
701 BRICKELL AVE
ATTN: S. G. MARTIN SUITE 1700
MIAMI, FL 33131


Current Mailing Address:
701 BRICKELL AVE
ATTN: S. G. MARTIN SUITE 1700
MIAMI, FL 33131 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
MARTIN, SERGE G
701 BRICKELL AVE
ATTN: S. G. MARTIN SUITE 1700
MIAMI, FL 33131 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: SERGE MARTIN                                                                                                                                                   02/07/2025
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGR                                                                            Title                  MGR
Name                   SINGH, RAJENDRA DR.                                                            Name                   MARTIN, SERGE G
Address                23 INDIAN CREEK ISLAND ROAD                                                    Address                701 BRICKELL AVE
                                                                                                                              SUITE 1700
City-State-Zip:        INDIAN CREEK VILLAGE FL 33154
                                                                                                      City-State-Zip:        MIAMI FL 33131




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: RAJENDRA SINGH                                                                                              MANAGER                                            02/07/2025
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
